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AO 245B (R ev.09/08) Judgm ent in a C rim inal C ase Sheet 1




                               UNITED STATES DISTRICT COURT
                                                     District of South Carolina


UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE

          vs.
                                                                               Case Number: 4:07CR645TLW(1)
DAVID EDWIN KOHN, JR.
a/k/a David Johnson a/k/a Officer David Washington                             USM Number: 15153-171

                                                                               William F. Nettles, IV, Public Defender
                                                                               Defendant’s Attorney
THE DEFENDANT:

O      pleaded guilty to count(s) Eight (8) and Eleven (11) on September 4, 2007.
G      pleaded nolo contendere to count(s)                                    which was accepted by the court.
G      was found guilty on count(s)           after a plea of not guilty.

The defendant is adjudicated guilty of theses offenses:

Title & Section                                                     Nature of Offense                   Offense Ended                        Count
18:924(c)(1), 924(c)(1)(A)(iii), 924(c)(1)(C)(i)                   Please see indictment                     7/4/2005                         8
18:924(c)(1), 924(c)(1)(A)(iii), 924(c)(1)(C)(i)                   Please see indictment                     7/9/2005                         11



         The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G         The defendant has been found not guilty on count(s)             .
O         Count(s) 1-7, 9, 10       G is Oare        dismissed on the motion of the United States.



         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
circumstances.

                                                                         ______A_u_g_u_s_t_1_8_,_2_0_0_9____________________________________
                                                                               Date of Imposition of Judgment


                                                                                  s/ Terry L. W ooten
                                                                                  Signature of Judge


                                                                         ______T_e_r_ry_ _L_._W
                                                                                              __o_o_te_n_,_U
                                                                                                           __n_it_e_d_S_t_a_te_s_D
                                                                                                                                 _ _is_t_ri_c_t _J_u_d_g_e ____________
                                                                               Name and Title of Judge

                                                                                  August 27, 2009
                                                                                  Date
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AO 245B (Rev. 09/08) Judgment in a Criminal Case
          Sheet 2 - Imprisonment                                                                           Page 2


DEFENDANT: DAVID EDWIN KOHN, JR.
CASE NUMBER: 4:07CR645TLW(1)

                                                        IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 10 years as to Count 8 and 12 years 10 months as to Count 11; all such terms to run
consecutive. Total aggregate sentence: 22 years, 10 months (274 months total).




G          The court makes the following recommendations to the Bureau of Prisons:




O          The defendant is remanded to the custody of the United States Marshal.

G          The defendant shall surrender to the United States Marshal for this district:
           G at                       G a.m. G p.m. on                                                     .
           G as notified by the United States Marshal.
G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
           G before 2 p.m. on                                       .
           G as notified by the United States Marshal.
           G as notified by the Probation or Pretrial Services Office.

                                                            RETURN
I have executed this Judgment as follows:


Defendant delivered on                                                     to
at                                                             , with a certified copy of this judgment.

                                                                                  UNITED STATES MARSHAL

                                                                   By
                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/08) Judgm ent in a Crim inal Case
         Sheet 3 - Supervised Release                                                                                    Page 3
DEFENDANT: DAVID EDWIN KOHN, JR.
CASE NUMBER: 4:07CR645TLW(1)

                                                      SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years as to each Counts 8 and 11; all
such terms to run concurrently. While on supervised release, the defendant shall comply with the mandatory and standard
conditions of supervision outlined in Title 18 U.S.C. § 3583(d). The defendant shall also comply with the following
special conditions: 1. Any unpaid restitution shall be paid at a rate of not less than$75 per month beginning 30 days after release. 2.
The defendant shall satisfactorily participate in a substance abuse treatment program, to include urine analysis, as
approved by the U.S. Probation Office. 3. The defendant shall satisfactorily participate in a mental health treatment
program as approved by the U.S. Probation Office.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G     The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
O     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
O     The defendant shall cooperate in the collection of DNA as directed by the Probation Office. (Check, if applicable.)
G     The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
      resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
G     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions on
the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court; and
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
      record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
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     defendant's compliance with such notification requirement.


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          Sheet 4 - Crim inal M onetary Penalties                                                                        Page 4

DEFENDANT: DAVID EDWIN KOHN, JR.
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                                                     CRIMINAL MONETARY PENALTIES
The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 5.

                     Assessment                                 Fine                  Restitution

TOTALS               $ 200.00                               $                          $4,075.00



G    The determination of restitution is deferred until _____________. An Amended Judgment in a Criminal Case(AO245C) will be
     entered after such determination.

O    The defendant must make restitution (including community restitution) to the following payees in the amount listed.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment unless specified in the
     priority order or percentage payment column on the next page. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
     be paid before the United States is paid.

Name of Payee                                   Total Loss*                     Restitution Ordered               Priority or Percentage


Petro Truck Stop                                    $3,475.00                   $3,475.00

Scott Richardson                                    $ 600.00                    $ 600.00




TOTALS                                         $ 4,075.00                       $ 4,075.00




G    Restitution amount ordered pursuant to plea agreement             $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 5 may be subject to
     penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

O    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          O          The interest requirement is waived for the   fine G   Orestitution.
          G          The interest requirement for the G fine G restitution is modified as follows:
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**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245B   (Rev. 9/08) Judgm ent in a Crim inal Case
     Sheet 5 - Schedule of Paym ents                                                                                             Page 5


DEFENDANT: DAVID EDWIN KOHN, JR.
CASE NUMBER: 4:07CR645TLW(1)

                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    O     Lump sum payment of $200.00 special assessment and $4,075.00 restitution due immediately, balance due

           G     not later than                                        , or

           O                  G C, O D, or G E, or G F below: or
                 in accordance with

B    G Payment to begin immediately (may be combined with G C, G D, or G F below); or
C    G     Payment in equal                    (weekly, monthly, quarterly) installments of $                     over a period of              (e.g.,
           months or years), to commence                         (30 or 60 days) after the date of this judgment; or


D    O      Payment in equal monthly installments of $75, to commence 30 days after release from imprisonment to a term of
           supervision; or


E    G     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment. The
           court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F    G     Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and Corresponding Payee, if appropriate.




G    The defendant shall pay the cost of prosecution.
G    The defendant shall pay the following court cost(s):
G    The defendant shall forfeit the defendant’s interest in the following property to the United States:

As directed in the Preliminary Order of Forfeiture, filed                     and the said order is incorporated herein as part of this judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
